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1                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
2                            C.A. No. 20-425 MAK
3       KNOWLEDGELAKE, INC.,
4                         Plaintiff,
5        v.
6       PFU AMERICA, INC.,
7                         Defendant.
8       ________________________________/
9
10                                        Remote Deposition
                                          June 21, 2021
11                                        11:00 a.m. - 1:35 p.m.
12
13                       DEPOSITION OF RON CAMERON
14                              (Confidential)
15
16            Taken before SUZANNE VITALE, R.P.R., F.P.R.
17      and Notary Public for the State of Florida at Large,
18      pursuant to Notice of Taking Deposition filed in the
19      above cause.
20
21
22
23
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25

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1       APPEARANCES:
2
3       On behalf of Plaintiff:
4       SWIECICKI & MUSKETT, LLC
        16100 Chesterfield Parkway West
5       Suite 368
        Chesterfield, Missouri 63017
6       BY:     CHRIS SWIECICKI, ESQ.
7
8       On behalf of Defendant:
9       MCGUIRE WOODS, LLP
        Two Embarcadero Center
10      Suite 1300
        San Francisco, California 94111
11      BY:     ALICIA BAIARDO, ESQ.
                abaiardo@mcguirewoods.com
12
13      and
14      ANDREW HODGES, ESQ. (PFU)
15
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1               Q.   When you say "they," are you referring to
2       PFU?
3               A.   The PFU executives, yes.
4               Q.   Do you know why they killed the deal?
5               A.   They mentioned to me at that time that
6       Rubicon had required them to ask PFU's parent
7       company, Fujitsu, for a global non-competition
8       agreement for capture software, which would be a
9       ridiculous ask of a $50 billion-plus company.                 And
10      there were other issues that I really don't know of,
11      but apparently there was sort of a laundry list of
12      outstanding deal issues that couldn't be overcome
13      which finally just broke the deal.
14              Q.   When did you decide to -- or when did you
15      start thinking about purchasing KnowledgeLake?
16              A.   Well, they jokingly mentioned it that
17      evening, maybe you should just --
18              Q.   In Tokyo?
19              A.   In Tokyo.     I sort of dismissed it and was
20      not at all -- had not even had that thought cross my
21      mind.
22                   But in my -- there was a comment that was
23      made by Kiyoshi Hasegawa at that dinner that night
24      which got me thinking.          He said, Ron, the only thing
25      we really need is we need to sell KnowledgeLake, and

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1       we really don't care about the price as much as we
2       care about the risk.
3                     And it's very Japanese culture.            The
4       Japanese are very risk-adverse people.               They don't
5       like taking business risk.             They're very calculated,
6       and they felt very uncertain in how to sort of
7       dispose of KnowledgeLake without winding up in a ton
8       of litigation after the thing was over.
9                     So he said -- the thing that stuck with me
10      was -- and, again, paraphrasing, we don't care about
11      the purchase price as much as we care about making a
12      transaction with very little risk.
13             Q.     And do you recall who was at the dinner?
14      You said "they," and I think you mentioned maybe one
15      or two names.
16             A.     I was invited there by Kiyoshi Hasegawa.
17      And who was actually at that dinner?
18             Q.     Who do you recall speaking with on these
19      points?      Kiyoshi Hasegawa, that was the main person?
20             A.     That was the main person, yes.
21                    I do recall, however, that Kenji Tsurumi,
22      who I'm sure you're aware of that name, right, Kenji
23      Tsurumi?      I do believe he was at that dinner that
24      night.      I'm not speculating with that.           I do recall
25      him being at that dinner because I remember

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1       helpful any way I could to try to make sure that it
2       happened because I felt like it was a good thing for
3       the people.
4              Q.   Okay.    You mentioned PFU being risk
5       adverse and wanting to avoid litigation.
6                   What made you say that?
7              A.   Several examples along the way of PFU --
8       PFU being very, very scared of being a defendant in
9       litigation, okay, and never, ever, at any time that
10      I knew them for however long it would have been,
11      over ten years, never, ever being a plaintiff.
12                  So they just wanted to stay away from any
13      legal risk sort of at all costs.                   One example I can
14      cite is they had -- they had sort of required me to
15      use KnowledgeLake funds -- and, again, timing, 2013,
16      right after the acquisition, they wanted to invest
17      $3 million into a company in Seattle called Blue
18      Rooster, and I knew the CEO well.
19                  I emphatically advised them to absolutely
20      not do the transaction because I didn't have any
21      belief in the deal.        I didn't have any belief in the
22      person that they were investing in, the CEO of the
23      company.
24                  And the CEO of the company very quickly,
25      the money -- the money, it just disappeared.                   Just

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1       poof, just gone.      $3 million gone.             It just dried up
2       and blew away.      Literally, at the second board
3       meeting, all the money was gone, and nobody could
4       tell where it went.
5                   And I told PFU, you should absolutely get
6       a lawyer and go figure this out because the guy just
7       stole your money.       And I was told that we were not
8       going to engage lawyers.           We were going to do
9       everything we could to avoid the risk of litigation
10      because what if this guy decided to sue them?
11                  So we actually avoided any kind of
12      litigation by making sure that we basically gave the
13      shares that we purchased back to the person -- the
14      person's company we had invested in.
15                  It was a very, very odd situation that no
16      American person would have ever done.                 So it's an
17      example of just being completely risk adverse in
18      every way in regard to litigation.
19             Q.   And when was that?            Did you say it was
20      after you had acquired KnowledgeLake?
21             A.   It was after.
22             Q.   It was after you acquired KnowledgeLake?
23             A.   It was later in 2013.
24             Q.   Got it.     After PFU had acquired
25      KnowledgeLake?

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1              A.     Right.   And they had forced my hand.               Even
2       passed my advice to them to not make the investment.
3       They required me to do it anyway.                  It was their
4       money.      So we made the investment.              I signed all the
5       papers, because they required me to, and then it all
6       went bad.
7                     Anyway, but any normal -- any normal
8       businessperson in the U.S. would have absolutely
9       sued that person, and they just desperately wanted
10      to get away from it any way they could.                  It's just
11      an example.
12             Q.     You mentioned to me that you started
13      KnowledgeLake, and we've been through the history
14      and kind of how you ended up back with
15      KnowledgeLake.
16                    Have you been involved with any other
17      companies in ownership roles?
18             A.     I am currently an owner at -- a very small
19      percentage owner at a company called SkySync that I
20      mentioned.      And no, no, that's it.
21                    Again, I'm trying to make sure that I
22      don't tell you anything wrong.                But no, I don't
23      currently have any other positions other than
24      SkySync and KnowledgeLake.             That's it.
25             Q.     Have you been involved in any other

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1       conversion at some point.
2                   To the best my recollection, I think it
3       was after that second investment in 2010.
4              Q.   So the Japanese-based fiscal year is
5       ending March 31st?
6              A.   Yes.
7              Q.   And in your experience, was that a big
8       event, the end of the fiscal year?
9              A.   Yes, I think it's a significant event.
10             Q.   Okay.    And can you walk me through, you
11      know, what would typically happen at the end of the
12      fiscal year in terms of accounting and invoices and
13      things that were unpaid?
14             A.   It was pretty -- pretty -- the Japanese
15      are pretty demanding with their accounting process.
16      So the end of the fiscal year really wasn't any
17      different than the end of any calendar year, but it
18      was a lot of pressure on our accounting staff
19      because we had to report -- we had to report numbers
20      to them in the second day of -- the second business
21      day of the next month, we had to be closed and give
22      our numbers to PFU corporate.               And that wasn't just
23      at the end of the fiscal year.                That was at the end
24      of every month.
25             Q.   So each month, would you say there was

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1       be?
2              A.   Probably, it would drop down to -- again,
3       we had other large deals that sort of came and went.
4       We'd do a large project for a company, like, you
5       know, Bank of America or whoever, but it would
6       always be kind of -- it would be a big project for
7       that one year, and then it would sort of diminish to
8       a lower number.
9                   Walmart was always a very consistent large
10      company from a total, total annual value, so it's
11      much different.
12                  So when you look at our -- sort of our
13      next biggest account, it would have been something
14      we sold in one particular year that would be a big
15      sale, and it would sort of go away.
16                  Then, yeah, so, say, number two would be
17      hard because it would have been based on what year
18      would you pick.      But by far and away, Walmart would
19      always be number one.
20             Q.   Okay.    So the last year you were with
21      KnowledgeLake, 2017, do you recall if there was any
22      other big accounts that year?
23             A.   I'm sorry.       I don't recall.
24             Q.   So when you were deciding to purchase old
25      KnowledgeLake, were you aware of that Walmart

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 1      invoice and when it typically would have been paid?
 2             A.   I was always keenly aware of Walmart's
 3      position because they were absolutely one of the big
 4      assets I was buying.
 5                  Most importantly, I had represented that
 6      to my money partner, Plymouth Growth Partners, that
 7      Walmart had given KnowledgeLake over 30 million in
 8      total revenue since 2007, and it was an instrumental
 9      component in me actually getting the money to
10      actually do the transaction.
11                  So yes, I had my -- it was very much had
12      the spotlight on it from my perspective.
13             Q.   And when you say it was a critical
14      component to getting the money to do the
15      transaction, was it the 2018 invoice or was it the
16      Walmart ongoing relationship?
17             A.   It was both.        You know, Walmart had a
18      whole history of always being -- annually being very
19      good for, you know, minimum of 2 and sort of a
20      maximum of 5 million in annual revenue.               So it was a
21      big component of the sale that I was able to make to
22      get the money to do the deal.
23                  In addition, the money that was sitting on
24      the AR for that million was also -- because I knew
25      that there's no way that would be paid by the end of

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 1             Q.     Do you think they were paying 872- on this
 2      invoice and then whatever the differential was on
 3      the others?
 4             A.     I don't know that.          I don't know.
 5             Q.     We talked about you had left KnowledgeLake
 6      December 31, 2017; is that right?
 7             A.     That's right.
 8             Q.     So this invoice is dated February 2018 to
 9      Walmart.      This is the invoice we were just talking
10      about.      It says "Terms, net 30 days."
11                    Can you explain to me what that means?
12             A.     That's what it means, is what it means.
13      It's due within 30 days from February 15th.
14             Q.     So that means Walmart needed to pay this
15      by March 15, 2018?
16             A.     That's what the document says.
17             Q.     Okay.   So would it have been overdue as of
18      March 16, 2018?
19             A.     It would have been.
20             Q.     At the time, you were not with Walmart --
21      sorry, Walmart -- not with KnowledgeLake.
22                    MS. BAIARDO:      And there's this e-mail
23             chain, I'm going to introduce as -- did I
24             introduce Exhibit B -- this invoice as
25             Exhibit 2 to the deposition, please, Madam

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 1              A.   I believe she was a direct report to Robin
 2      Heisler.
 3              Q.   Do you know who Chrisha Cooper is?
 4              A.   Also another employee of our accounting
 5      department.
 6              Q.   It looks like Robin sends this from a
 7      KnowledgeLake e-mail address to what appears to be a
 8      personal e-mail address robin.heisler@outlook.com.
 9                   Do you know if that is her personal e-mail
10      address?
11              A.   I have no knowledge of that.            I don't
12      know.
13              Q.   And then it looks like she sends it to
14      you.
15                   Is this your personal e-mail address
16      ronlcameron@yahoo.com?
17              A.   That is my personal e-mail address, yes.
18              Q.   It says, "FYI."
19                   Do you remember Robin sending you this
20      e-mail?
21              A.   I do.
22              Q.   Can you tell me about that?
23              A.   Robin was very concerned that we had --
24      she called me on the phone and sent me the e-mail
25      and said, hey, Bernie's got Gary Wahlig doing

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 1      collections.
 2                  And to kind of give you the background
 3      there, Gary is -- Gary works on our services team
 4      and Gary actually manages the accounts payable
 5      system at Walmart.        That's the main function of
 6      KnowledgeLake, is to manage payables for Walmart.
 7      And asked Gary to actually look into their system to
 8      find out the status, I suppose, of the KnowledgeLake
 9      payment and, you know, if we can expedite it, I
10      suppose.
11             Q.   And what was the basis of Robin's
12      knowledge of this?
13             A.   I guess this e-mail thread.              I don't know.
14      How did she get that?         Did Gary copy her?         I'm not
15      really sure.
16             Q.   Well, there's a little more color to your
17      response than what's in the e-mail.
18             A.   So it looks like Gary copied Dot and maybe
19      Dot copied Robin on it.
20             Q.   Dot forwarded it to Robin?
21             A.   Right.     There you go.           That's how Robin
22      found out, was from Dot.
23             Q.   So why is Robin calling you?
24             A.   Because Robin is not only on the PFU team,
25      but she's on my team because she's concerned about

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 1      our -- you know, having a fair deal.
 2              Q.   But at this point, she works for
 3      KnowledgeLake?
 4              A.   That's not totally accurate because we
 5      agreed with PFU that Robin would be a hybrid
 6      employee.     She'd be representing KnowledgeLake as
 7      old KL and new KL.
 8              Q.   But why is she sending it to her personal
 9      e-mail address?
10              A.   You'd have to ask Robin that.            I don't
11      know.
12              Q.   Does that suggest that she didn't think
13      people at KnowledgeLake would be happy with her
14      sending this to you?
15              A.   It doesn't suggest anything to me because
16      if she was worried about that, why wouldn't she
17      just -- she went ahead and sent it to me.                So why
18      would she send it to herself and then send it
19      directly to me if she was worried about something?
20      I don't know.
21              Q.   Well, that's my question exactly.
22              A.   What's the question?
23              Q.   The question is, why do you think she sent
24      this to her personal e-mail address and then sent it
25      to your personal e-mail address?

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 1             A.   I don't know.         You should ask Robin.
 2             Q.   I did ask Robin.
 3             A.   Well, if she was trying to hide something,
 4      is my point, she wouldn't send it to me.                   She would
 5      have sent it to herself and then to me.
 6             Q.   That's what she did.              She sent it to
 7      herself and then to you.
 8             A.   She sent it to herself and then to me?
 9             Q.   She sent it from herself at KnowledgeLake
10      to herself at Outlook to you.
11             A.   I don't know.         That's a great question.
12             Q.   Okay.
13             A.   There was nothing to be -- there was
14      nothing to hide on Robin's part.                   Maybe she was
15      worried about that.        I don't really know, but it
16      was -- it was agreed that it was -- this was an
17      amicable deal, and Robin was going to be the one
18      person that was going to be the center point in that
19      she was going to represent old KnowledgeLake and new
20      KnowledgeLake, and we were going to use her as sort
21      of a go-between in getting the deal finished.
22             Q.   Okay.     Was she motivated to have the
23      Walmart invoice paid after the sale?
24             A.   I think she was motivated the same as me,
25      to have a fair deal.

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 1                   In 2018, you weren't working there
 2      anymore.     In 2016 to 2017, you were just fielding
 3      calls from Bernie about anything he needed help
 4      with.
 5                   So my question is, what is the basis for
 6      your conclusion that it would be odd for Gary to do
 7      this?
 8              A.   History.     Historically, I've never asked a
 9      single services person to collect an invoice like
10      this.
11              Q.   But you stopped serving as president in
12      third quarter of 2016?
13              A.   You asked me for my basis.            It would have
14      been historical from the beginning of January 2001
15      all the way until I stopped running the company in
16      2016.
17              Q.   Okay.    Did you know that the Walmart
18      invoice was paid before the closing?
19              A.   I found out that it was paid on the
20      morning of the 26th of March.
21              Q.   Who told you that?
22              A.   I believe Robin Heisler.
23              Q.   Did she call you?
24              A.   My recollection is she called me, yes.
25              Q.   And what did she say?

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 1              A.    She said Walmart paid.
 2              Q.    Was she upset?
 3              A.    I think she was factual, wanting to let me
 4      know.
 5              Q.    Did that change anything in your
 6      negotiations with PFU, the fact that the invoice had
 7      been paid on March 26th?
 8              A.    I was sort of resolute at that point to
 9      the fact that we'd be right here right now, so -- I
10      had so much on my plate, trying to get money from
11      Plymouth and money from First Bank, trying to get
12      the deal docs done and damage was already complete
13      at that point, so it was like just put it away and
14      move on, and I can deal with it on another day.
15                    At that point, after the money had been
16      received, I knew I was going to court, so that was
17      sort of it.
18              Q.    So in your mind, you had already planned
19      to sue PFU before the close?
20              A.    I knew that it would have been brought up
21      on a later date.       I hoped that they would be fair
22      people.      But after several appeals to them later,
23      after we got the deal all documented and done, it
24      was clear that they were not going to be reasonable.
25              Q.    It's interesting to me that you say that

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 1      they would be fair people.
 2                   Do you recall negotiating with Tsurumi
 3      directly about when the Walmart invoice would be
 4      paid?
 5              A.   I do remember that, yes.
 6                   (Thereupon, the referred-to document was
 7      marked for Identification as Defendant's Exhibit 4.)
 8      BY MS. BAIARDO:
 9              Q.   And for Exhibit 4, I have an e-mail that
10      starts at PFU2779.        It's an e-mail from -- the
11      bottom of the chain begins with Tsurumi to Ron,
12      dated March 21, 2018.
13                   "Hi, Ron.     It just came to my attention
14      that one of KL invoices to Walmart dated 2/15/18 is
15      not yet paid as of today (see attached).                  The amount
16      of this invoice is approximately $1 million.
17                   "Please note that our commitment to leave
18      $3 million cash with KL at the closing date is
19      contingent upon the receipt of a payment for this
20      invoice.     We are hoping that KL will be receiving
21      the payment within next ten days.                  But if KL
22      doesn't, we will need to ask you for a credit of the
23      invoice's amount from previously agreed 3 million.
24      With your permission, we would like to change
25      wordings on the stock purchase agreement,

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 1      for the clarification on the 3/31-dated check to be
 2      cashed on 4/2 for 2.04 million.                We are in
 3      agreement.     I'll sign the agreement this afternoon."
 4                   So does this refresh your memory about the
 5      negotiations that were going on surrounding when the
 6      Walmart invoice would land?
 7             A.    I'm very familiar with that conversation,
 8      yes.
 9             Q.    So is it fair to say you were negotiating
10      around when the Walmart invoice would be paid?
11             A.    It's fair to say that we -- if you would
12      scroll back up there.
13             Q.    Sure.    Where do you want me to go?
14             A.    Keep going.      Where I referenced Bernie.
15      Right there.
16                   "I've been in Bernie's office this
17      morning."     There's a whole other e-mail thread which
18      happened on the 21st, which was all of the stuff
19      kind of coming to light that Bernie is taking some
20      extraordinary actions to try to collect money that
21      normally would not be flowing into the company.
22                   So I sent a flurry of e-mails on the 21st.
23      On the morning of the 22nd, I was immediately in
24      Bernie's office saying, Bernie, you're going to blow
25      this up.     We're going to be in a lawsuit.               You've

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 1      got to shut this down.
 2                   Bernie was like, well, you know, I've got
 3      to do my job, and I've got to represent PFU and
 4      they've asked me to do this and blah, blah, blah.
 5                   I'm, like, Bernie, you've got to operate
 6      KnowledgeLake in its normal and ordinary course of
 7      business, or you're going to cause a lawsuit.                  And
 8      he's, like, well, okay, I get it, I get it.
 9                   The problem was, the damage was already
10      done, so -- anyway, but the reason I say we're okay
11      to move forward was that I had assumed that, after
12      my discussion with Bernie, is that he would stop.
13                   The problem was that it didn't even
14      matter.     It was already done.
15             Q.    So is it fair to say, when you were
16      negotiating this deal with Tsurumi, you're expecting
17      that the $1 million is going to come after to the
18      new KnowledgeLake, after the close?
19             A.    I'm expecting PFU to honor the terms of
20      the deal, which is that KnowledgeLake operates in
21      its normal and ordinary course of business, and that
22      is the exact thing that we're arguing about right
23      now, is that they accelerated the payments through
24      Bernie's actions.       Bernie even told me he was doing
25      it.

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 1                  So it's a very, very unfortunate set of
 2      circumstances that could have been avoided, had he
 3      not tampered with the deal.
 4             Q.   Well, that's what I find interesting, is
 5      because you read this e-mail chain between you and
 6      Tsurumi, and you're having a very specific
 7      discussion about Bernie -- you know, PFU, through
 8      Bernie, trying to get the Walmart invoice paid
 9      before the close and you're negotiating around it.
10             A.   But I never excused them.                I never gave
11      them permission.       We never changed the words of the
12      deal to say, hey, this is a free-for-all, collect
13      all you can.      No, that's not the spirit --
14             Q.   So in your mind, does normal --
15             A.   -- of the deal.
16             Q.   Let me finish my question.
17                  In your mind, does normal course of
18      business mean that the invoice would not have been
19      paid before March 31, 2018?
20             A.   Yes, correct.
21             Q.   And what's the basis for that?
22             A.   Based on how Walmart had paid us
23      previously and based on the fact that -- I mean, he
24      put pressure -- paid on the 26th.                  There's no way
25      that would have been paid on the 26th before.

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 1              Q.      But we talked earlier about the invoice
 2      was due as of March 16th, and it was paid after it
 3      was due; is that correct?
 4              A.      That's correct.
 5              Q.      And we walked through the prior invoices
 6      that Robin had pulled for Kevin in October of 2018,
 7      and those were largely paid in March of each year.
 8              A.      They were billed in January.         They were
 9      billed in January, not February.
10              Q.      So why wasn't this invoice billed in
11      January?
12              A.      Like I said, I don't know that.          I have no
13      idea.        I wasn't operating the company.
14              Q.      So if you weren't operating the company in
15      January of 2018, you have no idea why the invoice
16      didn't go out in January 2018, why are you so sure
17      about when the invoice should have been paid in
18      March of 2018?
19              A.      Why am I so sure?        State that again.      I'm
20      getting lost here.        Say it one more time.
21              Q.      So you just explained to me that you don't
22      know why the invoice went out in February versus
23      January because you weren't working at the company;
24      is that correct?
25              A.      That's correct.

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 1              Q.   But you're also telling me, at the same
 2      time, that you know that normal course of business
 3      at KnowledgeLake was that the Walmart invoice would
 4      not have been paid after it was due on March 16th
 5      and before March 31, 2018; is that correct?
 6              A.   If you look at the schedule you showed me,
 7      okay, these bills are paid in approximately 60 days.
 8      They're billed in January, paid in March.                If you
 9      take 60 days from February 15th, that puts us into
10      April.
11              Q.   But you also told me earlier you thought
12      it would be paid in June or July.
13              A.   It would have been paid later.             For sure,
14      it would have been paid later.
15              Q.   But you also told me that Walmart would
16      have had to pay their invoices in order to continue
17      having work done by KnowledgeLake for them; is that
18      correct?
19              A.   There had been a history of us collecting
20      services invoices and not starting a new project
21      until they would catch up.             There had been some of
22      that.
23              Q.   And KnowledgeLake's president told you he
24      was trying to collect on the invoice before the
25      close for PFU; is that correct?

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 1             A.   That's correct.
 2             Q.   And Tsurumi with PFU told you they were
 3      trying to collect on the invoice before the close;
 4      is that correct?
 5             A.   That, I objected to, yes.
 6             Q.   How did you object to that?
 7             A.   Did you read the e-mail?
 8             Q.   I did.     It says to me that you guys
 9      renegotiated the deal and PFU is leaving less cash
10      and lowering the purchase price all around what is
11      going on at this time period.
12             A.   But I never agreed that we wouldn't
13      operate the company in its normal and ordinary
14      course of business, which is not using our services
15      people to apply pressure to Walmart, okay, to get
16      bills paid in some extraordinary fashion and having
17      people pay with credit cards.               That's just -- it's
18      totally out of normal course of business.
19                  I never agreed, as I said before, to
20      change the SPA, the words in the SPA to make it a
21      free-for-all for collections.
22             Q.   It sounds to me like a "gotcha."              Like you
23      had -- you told me earlier you decided, when this
24      got paid on March 26th, that you had decided you
25      were going to sue PFU?

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 1             A.    I decided --
 2             Q.    And PFU is negotiating with you around
 3      when it's going to be paid.
 4             A.    I decided the damage was done and we would
 5      pick it up later --
 6             Q.    So you were willing to let PFU charge you
 7      less for the company, fully expecting that either
 8      you were going to sue on the invoice or it was going
 9      to come in and help new KnowledgeLake?
10             A.    At that point, as I mentioned, okay, I had
11      to drop the issue right then to get the deal
12      finished, okay, but it was absolutely not a dead
13      issue.
14                   So the fact that they -- it was already --
15      I had already agreed that if it came in, they were
16      going to take it, right?
17             Q.    Right.    But you decided you were going to
18      sue on it?
19             A.    I'm not going to kill the deal over this
20      one issue, right, but it was going to be picked up
21      later because they absolutely breached the contract.
22             Q.    I'm having trouble seeing how there is a
23      breach of contract when you have negotiated with
24      Tsurumi and he has told you that they're trying to
25      collect, and you say, no, that's a showstopper, and

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 1      he comes back and offers you different terms while
 2      trying to collect on that invoice.
 3             A.   They totally breached the agreement.                 They
 4      agreed to operate the company in its normal and
 5      ordinary course of business, and they clearly did
 6      not.
 7             Q.   And what's the basis for your statement
 8      that this is outside the normal course of business?
 9             A.   Asking Gary Wahlig, who's a services
10      person, to look inside the Walmart system; having
11      Bernie, the CEO, make telephone calls to executives
12      at Walmart to apply pressure.
13                  Those are things he told me that were
14      happening, and that is not in its normal ordinary
15      course of business.
16             Q.   Well, I think we've walked through what --
17      strike that.
18                  I am going to ask you about another
19      e-mail.
20                  MS. BAIARDO:        I think we're on Exhibit 5.
21                  (Thereupon, the referred-to document was
22      marked for Identification as Defendant's Exhibit 5.)
23      BY MS. BAIARDO:
24             Q.   This is from Bernie to you and your two
25      e-mail addresses and to Robin.                And Bernie says,

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 1              Q.    I don't see a date on it.
 2                    Do you remember if it was -- I believe it
 3      was March 31st.
 4                    Do you recall when you actually signed it?
 5              A.    I'm sure the document is dated.            I don't
 6      recall.      Sorry.
 7              Q.    I think the date is -- it's dated as of
 8      March 23rd, but I thought that it had been signed a
 9      few days after that.         Let me just check my notes.
10              A.    Why would you think it was signed after
11      that?
12              Q.    I'm trying to recall that.           I can't find
13      my notes about that, but it's dated as of
14      March 23rd.
15                    You signed it and Koichi Abe signed it on
16      behalf of PFU.        And then the close occurred on
17      March 31st; is that correct?
18              A.    That's correct.        It would, by the way,
19      make sense that I signed it on the 23rd with Koichi
20      because we were both in St. Louis on the 23rd of
21      March, so ...
22              Q.    So you signed it the 23rd.           The Walmart
23      invoice is paid the 26th.            You mentally set it aside
24      and the closing proceeds -- you decide to continue
25      moving forward and the closing proceeds on March

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 1      31st.
 2                   Is that accurate?
 3              A.   That's accurate.
 4                   MS. BAIARDO:       Should we take maybe a five-
 5              or ten-minute break?         I just want to collect my
 6              notes.
 7                   THE WITNESS:       Okay.       I can do that.     Thank
 8              you, Ali.
 9                   (Short recess taken.)
10      BY MS. BAIARDO:
11              Q.   Do you know of an old KnowledgeLake
12      customer called Teledyne Brown?
13              A.   I'm familiar, yes.
14              Q.   And did you interact with Teledyne Brown
15      in your role as president, CEO or chairman?
16              A.   In 2006, when the company was very small,
17      I did assist in the sales process of Teledyne Brown,
18      but it's been a long time ago.
19              Q.   Have they -- had Teledyne Brown remained a
20      customer until 2018?
21              A.   Yes.   Until today.
22              Q.   Are you familiar with how old
23      KnowledgeLake would accept payments in general?                  Was
24      it just ACH or was it credit card or checks as well?
25              A.   It was always an invoice and companies

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 1      Bernie was asked by Gary and then that Gary sent
 2      e-mails.
 3                    Was the invoice overdue when Gary was
 4      doing this?
 5             A.     The invoice was due on March 15th, and I
 6      believe this was around March 21st, I believe.                     It
 7      was six days overdue.
 8                    MS. BAIARDO:      Okay.       All right.     Thank
 9             you.    Those are all the questions that I have.
10                    THE WITNESS:      Thank you.
11                    MR. SWIECICKI:       We will waive reading of
12             the transcript.
13                    MS. BAIARDO:      Chris and I had talked
14             earlier about the confidentiality of the
15             transcript and the exhibits.                We'll work
16             together on that, but I think, for now, we
17             should just treat the whole thing as
18             confidential, and then we'll work together to
19             figure out what pieces of it would be.
20                    THE COURT REPORTER:           Do you need a copy of
21             the transcript?
22                    MR. SWIECICKI:       I don't need anything
23             rushed.    Just regular.
24                    (Concluded at 1:35 p.m.)
25

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 1                            CERTIFICATE OF OATH
 2      STATE OF FLORIDA        )
 3      COUNTY OF BROWARD       )
 4
 5                  I, the undersigned authority, certify that
 6      RON CAMERON personally appeared before me and was
 7      duly sworn.
 8                     WITNESS my hand and official seal this
 9      28th day of June, 2021.
10
                               <%3249,Signature%>
11                             ________________________________
                               SUZANNE VITALE, R.P.R., F.P.R.
12                             Notary Public, State of Florida
13
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 1                                 CERTIFICATE
 2      STATE OF FLORIDA       )
 3      COUNTY OF BROWARD )
 4                  I, SUZANNE VITALE, R.P.R., F.P.R. do
 5      hereby certify that I was authorized to and did
 6      stenographically report the foregoing deposition of
 7      RON CAMERON; that a review of the transcript was not
 8      requested; and that the transcript is a true record
 9      of my stenographic notes.
10                  I FURTHER CERTIFY that I am not a
11      relative, employee, attorney, or counsel of any of
12      the parties, nor am I a relative or employee of any
13      of the parties' attorney or counsel connected with
14      the action, nor am I financially interested in the
15      action.
16
17                  Dated this 28th day of June, 2021.
18
19                             <%3249,Signature%>
                               ________________________________
20                             SUZANNE VITALE, R.P.R., F.P.R.
                               My Commission No. DD179981
21                             Expires: 5/24/2024
22
23
24
25

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